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                       EXHIBIT D
3/5/2021          Case 4:21-cv-00734 Document 1-4 FiledDetails
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             Case Information

             2020-DCL-05830 | Santiago Esequiel Castillo vs. Aaron's Inc. and James M. Day, Jr.

             Case Number                              Court                               Judicial Officer
             2020-DCL-05830                           445th District Court                Rincones, Gloria M
             File Date                                Case Type                           Case Status
             11/24/2020                               Other Injury or Damage              Pending




             Party

             Plaintiff                                                                    Active Attorneys 
             Castillo, Santiago Esequiel                                                  Lead Attorney
                                                                                          CISNEROS, MICHAEL J.
                                                                                          Retained




             Defendant                                                                    Active Attorneys 
             Aaron's Inc.                                                                 Lead Attorney
                                                                                          Cox, Maryalyce W
             Address
                                                                                          Retained
             Serving its Registered Agent Corporation Service Company
             d/b/a CSC-Lawyers Incorporating Service Company
             211 East 7th Street, Suite 620
             Austin TX 78701-3218




             Defendant
             Day, James M., Jr.

             Address
             511 West French Place
             San Antonio TX 78212-3653




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0#                                               1/5
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             Events and Hearings


                11/24/2020 Original Petition (OCA) 


                   Comment
                   Plaintiff's Original Petition


                11/24/2020 Efiled Original Petition Document 


                Plaintiff's Original Petition

                   Comment
                   Plaintiff's Original Petition


                11/24/2020 Jury Fee Paid (OCA)


                11/25/2020 Citation Issued 


                E-Sig - Citation - Personal Service

                   Comment
                   Citations emailed to email@cisneroslawfirm.com as requested on efile. sa


                11/25/2020 Citation Issued 


                E-Sig - Citation - Personal Service

                   Comment
                   Citations emailed to email@cisneroslawfirm.com as requested on efile. sa


                11/25/2020 Citation 


                Unserved

                Anticipated Server
                Civil Process Server

                Anticipated Method
                In Person


                11/25/2020 Citation 


                Unserved

                Anticipated Server
                Civil Process Server

                Anticipated Method
                In Person

https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0#                            2/5
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                12/14/2020 Original Answer 


                   Comment
                   Defendant Aaron's, LLC's Original Answer to Plaintiffs' Original Petition


                01/20/2021 Amended Petition 


                Plaintiff's First Amended Original Petition

                   Comment
                   Plaintiff's First Amended Original Petition


                01/20/2021 Motion 


                Plaintiff's Motion for Telephonic Docket Control Conference

                   Comment
                   Plaintiff's Motion for Telephonic Docket Control Conference


                01/25/2021 Docket Control Order 


                Order Setting Telephonic Docket Control Conference

                   Judicial Officer            Comment
                   Rincones, Gloria M          Order Setting Telephonic Docket Control Conference



                02/12/2021 Docket Control Conference (telephonic) 


                Judicial Officer
                Rincones, Gloria M

                Hearing Time
                11:00 AM

                Result
                Held


                02/12/2021 Journal Entry 


                   Comment
                   All sides appeared telephonicaly for DCC hearing; Janie for Plaintiff and Mary Alyce Cox For
                   Defendent/Respondent; Trial Set for October 18, 2021 at 8:30 a.m.. with Announcements on October
                   14, 2021 at 8:30 a.m.; Discovery Deadlines As Per The Rules; Medication Mandatory 30 Days Before
                   Trial; All Dispositive Motions To Be Filed No Later Than 45 Days Before Trial; Order To Be Submitted
                   Within 10 Days. GMR/mlg


                10/14/2021 Announcement 


                Judicial Officer
                Rincones, Gloria M

                Hearing Time
                8:30 AM


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                Comment
                Trial 10/18/2021


                10/18/2021 Jury Trial 


                Judicial Officer
                Rincones, Gloria M

                Hearing Time
                8:30 AM




             Financial

             Castillo, Santiago Esequiel
                    Total Financial Assessment                                                         $363.00
                    Total Payments and Credits                                                         $363.00


              11/25/2020        Transaction                                                           $363.00
                                Assessment

              11/25/2020        E-File Electronic             Receipt # 2020-   Castillo, Santiago   ($363.00)
                                Payment                       22053             Esequiel




             Documents


                Plaintiff's Original Petition

                E-Sig - Citation - Personal Service
                E-Sig - Citation - Personal Service

                Plaintiff's First Amended Original Petition
                Plaintiff's Motion for Telephonic Docket Control Conference

                Order Setting Telephonic Docket Control Conference



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